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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

                                                        Civil Action No. :16-cv-3269-RMG
 Song Chuan Technology (Fujian) Co. Ltd.,

 Plaintiff,

 vs.                                                                  COMPLAINT

 Bank of America, N.A., John Doe,

 Defendants.


          The Plaintiff, Song Chuan Technology (Fujian) Co. Ltd. (“Song Chuan”), by and through

its undersigned attorneys, and complaining of the Defendants, would respectfully allege to this

Court the following:

                                PARTIES, JURISDICTION, VENUE

       1. Song Chuan is a corporation organized and existing under the laws of China; it conducts

          business with Bank of America, N.A. (“BoA”), and its wire transfers to BoA, inter alia,

          give rise to this action.

       2. BoA is a national bank organized and existing under the laws of Delaware; BoA’s

          principal place of business is located in North Carolina, and it conducts business in every

          state within the United States, including South Carolina.

       3. John Doe is an unknown person or entity who hacked e-mails between Song Chuan and

          a third-party, created a BoA account for transfer of money to which it was not entitled,

          and accepted a BoA wire transfer. All rights are reserved to amend this Complaint to

          substitute the actual person or entity in place of John Doe.




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4. This action arises out of (1) a business transaction between Song Chuan and another

   entity (“Business Partner”), which is not named in this action, and (2) a wire transfer

   from Song Chuan to John Doe’s BoA account to effectuate the transaction.

5. Song Chuan and the Business Partner communicated and conducted negotiations through

   an intermediary who served to advise the parties on their transaction (“Advisor”). The

   Advisor is located in and facilitated this transaction from Charleston, South Carolina.

   Effectively, the transaction flowed through and occurred in Charleston, South Carolina.

6. As it stands, there is complete diversity between the parties and the amount in

   controversy well exceeds $75,000, so this Court has subject matter jurisdiction over this

   action, pursuant to 28 U.S.C. § 1332.

7. This Court also has subject matter jurisdiction pursuant to the Racketeer Influenced and

   Corrupt Organizations Act, 18 U.S.C. 1961 et seq. (“RICO Act”).

8. Given that the negotiations and facilitation of the transaction at issue occurred in

   Charleston, South Carolina, venue in this district and division are proper, pursuant to 28

   U.S.C. § 1391(b)(2).

                             FACTUAL ALLEGATIONS

9. Song Chuan and the Business Partner entered into negotiations for the sale of goods

   from the Business Partner to Song Chuan.

10. The Advisor served as an intermediary between Song Chuan and the Business Partner,

   helping the parties conduct negotiations, a majority of which occurred via e-mail. The

   Advisor was based in Charleston, South Carolina, thus the nerve center of this

   transaction was Charleston, South Carolina.




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11. At some point during the course of this negotiations, John Doe engaged in numerous acts

   with the intent of ultimately converting the proceeds of the sale. These acts included:

       a. Hacking e-mails between Song Chuan, the Business Partner and the Advisor to

           track the progress of the transaction;

       b. Setting up a BoA account for the purpose of illegally accepting the wire transfer;

       c. Posing as the Business Partner and sending its BoA account information to Song

           Chuan for the purpose of illegally accepting the wire transfer; and

       d. Illegally accepting the wire transfer.

12. Song Chuan and the Business Partner ultimately agreed on a price of $880,000, which

   was to be paid in advance via a wire transfer to the Business Partner’s BoA account.

13. At the time when Song Chuan was to send the wire transfer, John Doe hacked into the

   communications and sent an e-mail with wire instructions for payment to an account it

   owned, also a BoA account.

14. The named tied to John Doe’s BoA account gave the appearance that it was a division

   within or the accounts receivable arm of the Business Partner.

15. On or about September 14, 2016, Song Chuan wired $880,000 to John Doe’s BoA

   account, thinking it had sent the money to the Business Partner’s BoA account. (See

   Exhibit 1, Wiring Instructions).

16. Song Chuan is unaware if BoA has released the funds to John Doe.

17. Song Chuan and its bank have filed a claim with BoA for return of its money based on

   the fraud of John Doe.

18. BoA has failed, refused or otherwise denied to return its money.




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                 AS A FIRST CAUSE OF ACTION AGAINST BOA
               (Injection/Temporary Restraining Order/interpleader)

19. The Plaintiff hereby incorporate the allegations contained in the foregoing paragraphs as

   if fully restated here.

20. BoA is in possession of $880,000 that was intended to be sent to the Business Partner but

   was instead send to John Doe.

21. In the event that BoA has yet to release the funds, Song Chuan will suffer immediate and

   irreparable harm if the $880,000 is in fact released to John Doe.

22. Song Chuan requests that this Court issue an order enjoining BoA from releasing any of

   these funds to John Doe.

23. Song Chuan would also request that the Court order BoA to return its funds.

24. In the alternative, Song Chuan would request that BoA interplead the funds into this

   Court until resolution of this matter.

               AS A SECOND CAUSE OF ACTION AGAINST BOA
                              (Conversion)

25. The Plaintiff hereby incorporate the allegations contained in the foregoing paragraphs as

   if fully restated here.

26. Song Chuan has an interest in the $880,000 that is currently being held, or that was once

   held, by BoA.

27. BoA’s continued holding or release of the money amounts to conversion without Song

   Chuan’s permission.

28. Song Chuan is entitled to recover from BoA $880,000, in addition to all applicable

   damages, including punitive damages.




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             AS A FIRST CAUSE OF ACTION AGAINST JOHN DOE
                               (Conversion)

29. The Plaintiff hereby incorporate the allegations contained in the foregoing paragraphs as

   if fully restated here.

30. Song Chuan has an interest in the $880,000 that is currently being held, or that was once

   held, by BoA.

31. John Doe converted this money by fraudulently inducing Song Chuan to wire it to John

   Doe’s BoA account.

32. Song Chuan did not give John Doe permission to possess this money.

33. Song Chuan is entitled to recover from John Doe $880,000, in addition to all applicable

   damages, including punitive damages.

           AS A SECOND CAUSE OF ACTION AGAINST JOHN DOE
                              (Fraud)

34. The Plaintiff hereby incorporate the allegations contained in the foregoing paragraphs as

   if fully restated here.

35. John Doe represented that it was the Business Partner when it sent wire instructions to

   Song Chuan.

36. These representations were false and material to the transaction.

37. John Doe knew that it was not the Business Partner, thus it knew the representations

   were false.

38. John Doe intended that Song Chuan act on those representations (i.e., send money to

   John Doe).

39. Song Chuan was ignorant of those representations and in fact relied on their truth (i.e.,

   Song Chuan actually sent money to John Doe).


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40. Song Chuan had a right to rely on the representations, and it has suffered significant

   damage as a direct and proximate result of John Doe’s fraud.

41. Song Chuan is entitled to recover from John Doe all actual and punitive damages

   resulting from John Doe’s fraud.

            AS A THIRD CAUSE OF ACTION AGAINST JOHN DOE
                          (RICO Act Violations)

42. The Plaintiff hereby incorporate the allegations contained in the foregoing paragraphs as

   if fully restated here.

43. John Doe is engaged in activities that affect interstate commerce.

44. John Doe participated in or conducted a pattern of racketeering activity for the unlawful

   purpose of intentionally defrauding John Doe. Specifically, John Doe’s activities

   include, but are not limited to,

       a. Hacking e-mails between Song Chuan, the Business Partner and the Advisor to

           track the progress of the transaction;

       b. Setting up a BoA account for the purpose of illegally accepting the wire transfer;

       c. Posing as the Business Partner and sending its BoA account information to Song

           Chuan for the purpose of illegally accepting the wire transfer; and

       d. Illegally accepting the wire transfer.

45. The pattern of John Does’ racketeering activity was done in violation of the RICO Act,

   18 U.S.C. § 1961 et seq.

46. As a direct and proximate result of these violations, Song Chuan has been injured, and it

   is entitled to judgment against John Doe for its actual damages, treble damages,

   consequential damages, punitive damages and attorney’s fees and costs.



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         Wherefore, having complained of the Defendants, the Plaintiff prays that this Court

inquire into the matters set forth above and grant the Plaintiff judgment as follows:

         A).    For an order enjoining BoA from releasing any of the funds wired from Song

                Chuan to John Doe;

         B).    For its actual damages, which should be trebled;

         C).    For consequential and punitive damages to be determined by the trier of fact;

         D).    For attorney’s fees and costs associated with bringing this action;

         E).    For prejudgment interest; and

         F).    For such other relief as this honorable Court may deem to be just and appropriate.



                                                      SMITH | CLOSSER, PA

                                                      s/Steven L. Smith

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